              IN THE UNITED STATES DISTRICT COURT                        Motion GRANTED.
              FOR THE MIDDLE DISTRICT OF TENNESSEE                       Hearing reset for
                       NASHVILLE DIVISION                                10/9/13 at 10:30 a.m.




UNITED STATES OF AMERICA                      )
                                              ) No. 3:12-00198
             v.                               )
                                              ) JUDGE TRAUGER
                                              )
ALI KASSEM                                    )



                   DEFENDANT ALI KASSEM’S SECOND
                  MOTION TO CONTINUE PLEA HEARING

       Defendant, Ali Kassem, respectfully requests that

this     Honorable        Court      continue            the     Plea     Hearing

currently scheduled for August 29, 2013.                         In support of

this Motion, Mr. Kassem states as follows:

1.     Mr.    Kassem      and     his        attorney          have     had   plea

negotiations with the Government.

2.     However, there are still some issues to be resolved

by defense counsel and the attorney for the Government.

The final terms of the Plea Agreement have not been

completed.           In   addition,          defense      counsel       is    still




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